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UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF MICHIGAN

In re:
Chapter 11
BARFLY VENTURES, LLC, ez. ai.,' Case No. 20-01947-jwb

Hon. James W. Boyd
Debtors.

/ Jointly Administered

 

FIRST AND FINAL APPLICATION FOR COMPENSATION AND
REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL &
JONES LLP, AS COUNSEL TO THE DEBTORS AND DEBTORS IN POSSESSION
FOR THE PERIOD FROM JUNE 3, 2020 THROUGH MARCH 1, 2021

 

Pursuant to sections 330 and 331 of Title 11 of the United States Code (the
“Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (collectively, the
“Bankruptcy Rules”) and the Court’s Order Establishing Procedures for Interim Compensation
and Reimbursement of Expenses of Professionals entered on June 30, 2020 [Docket No. 113]
(the “Compensation Procedures Order”), Pachulski Stang Ziehl & Jones LLP (“PSZ&J” or the
“Firm”), counsel to the above-captioned debtors and debtors in possession (collectively, the

Debtors”), hereby submits its First and Final Application for Compensation and for

 

The Debtors and the last four digits of their federal employment identification number are: Barfly Ventures,
LLC (8379); 9 Volt, LLC (d/b/a HopCat) (1129); 50 Amp Fuse, LLC (d/b/a Stella’s Lounge) (3684); GRBC
Holdings, LLC (d/b/a Grand Rapids Brewing Company) (2130); E L Brewpub, LLC (d/b/a HopCat East
Lansing) (5334); HopCat-Ann Arbor, LLC (5229); HopCat-Chicago, LLC (7552); HopCat-Concessions, LLC
(2597); HopCat-Detroit, LLC (8519); HopCat-GR Beltline, LLC (9149); HopCat-Holland, LLC (7132);
HopCat-Indianapolis, LLC (d/b/a HopCat-Broad Ripple) (7970); HopCat-Kalamazoo, LLC (8992); HopCat-
Kansas City, LLC (d/b/a HopCat,-KC, LLC and Tikicat) (6242); HopCat-Lexington, LLC (6748); HopCat-
Lincoln, LLC (2999); HopCat-Louisville, LLC (0252); HopCat-Madison, LLC (9108); HopCat-Minneapolis,
LLC (8622); HopCat-Port St. Lucie, LLC (0616); HopCat-Royal Oak, LLC (1935); HopCat-St. Louis, LLC
(6994); Luck of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden’s Restaurant Saloon)
(4255).

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Reimbursement of Expenses for the Period of June 3, 2020 through March 1, 2021 (the “Final
Application”).”

By this Final Application PSZ&J seeks a final allowance of (i) compensation in
the amount of $358,230.00; (ii) actual and necessary expenses in the amount of $1,439.46; and
(iii) $2,500.00 for the preparation of the Final Application; for a total final award of $362,169.46
and payment of the unpaid portion of such fees and expenses for the period June 3, 2020 through
March 1, 2021 (the “Compensation Period”).

Background

I. On June 3, 2020 (the “Petition Date”), the Debtors commenced these
chapter 11 cases by filing voluntary petitions for relief under chapter 11 of the Bankruptcy Code.
The Debtors have continued in the possession of their property and have continued to operate
and manage their business as debtors in possession pursuant to sections 1107(a) and 1108 of the
Bankruptcy Code. No trustee, examiner, or committee has been appointed in these chapter 11
cases.

2. The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157
and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

3. On or about June 30, 2020, the Court signed the Compensation Procedures
Order, authorizing certain professionals (“Professionals”) to submit monthly fee statements
(“Monthly Statements”) for compensation and reimbursement for expenses, pursuant to the

procedures specified therein. The Compensation Procedures Order further provides, among

 

? If the Firm incurs any other fees or expenses after the filing of the Application, the Firm will supplement the
application for the Court’s consideration in accordance with the procedures set forth below.

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other things, that if no objections are made within seven (7) days after service of the Monthly
Statement the Debtors are authorized to pay the Professional eighty percent (80%) of the
requested fees and one hundred percent (100%) of the requested expenses. Professionals may
also file and serve interim fee applications approximately every 120 days. All fees and expenses
paid are on an interim basis until final allowance by the Court. Pursuant to the Compensation
Procedures Order, PSZ&J has submitted five Monthly Statements for services rendered and
expenses incurred from June 3, 2020 through and including October 31, 2020 and has received
payment of 80% of fees and 100% of expenses on account of its five filed Monthly Statements.
As of the date of this Final Application, PSZ&J has not received any objections to its Monthly
Statements.

4, The retention of PSZ&J, as Counsel for the Debtors, was approved
effective as of June 3, 2020 by this Court’s Order Authorizing and Approving the Retention of
Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtors and Debtors in Possession
Effective as of the Petition Date entered on July 22, 2020 [Docket No. 187] (the “Retention
Order”). The Retention Order authorized PSZ&J to be compensated on an hourly basis and to be
reimbursed for actual and necessary out-of-pocket expenses. PSZ&J agreed with the Debtors to
charge its regularly hourly rates but reduce its fees to the extent that the blended-hourly attorney
rate exceeds $750 per hour on a cumulative basis. The discounts reflected herein are a result of

such agreement.
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PSZ&J’s APPLICATION FOR COMPENSATION AND
FOR REIMBURSEMENT OF EXPENSES

Compensation Paid and Its Source

5. In connection with professional services rendered to the Debtors in this
case during the Compensation Period, PSZ&J seeks allowance and payment of compensation in
the total amount of $358,230.00 and reimbursement of expenses in the amount of $1,429.46, plus
the sum of $2,500.00 for the preparation of this Final Application for a total final allowance of
$362,169.46 (the “Total Compensation”).

6. Of the Total Compensation amount requested, PSZ&J has already been
paid a total of $272,155.69 in fees, and $1,049.13 in expenses, pursuant to the terms of the
monthly fee notice procedures detailed in the Compensation Procedures Order, under which
PSZ&J was permitted to receive 80% of the fees sought and 100% of expenses sought, on a
monthly basis, subject to approval through a subsequent interim and/or final fee application
process (see Monthly Statements; Docket Numbers 192, 263, 322, 349 and 396). This Final
Application now seeks final approval of the total amount of fees and expenses through March 1,
2021, including the monthly amounts previously received and the remaining 20% holdback
amounts for those months.

de PSZ&J agreed with the Debtors to charge its regularly hourly rates but
wrote-off fees to the extent that the blended-hourly attorney rate exceeded $750 per hour on a
cumulative basis. Therefore, the amounts sought under each Monthly Statement summarized

below are net of a total write-off of $22,450.00:
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Total Paid per
g Docket Less Total Compensation | Outstanding
more y cones No. Fees Discount Expenses Requested Srealires Balance
Order

June 2020 192 $97,817.50 ($9,775.00) $6.65 $88,049.15 $88,049.15 $0.00
July 2020 263 $86,932.50 ($5,562.50) $652.09 | $82,022.09 $74,486.88 $7,535.21
August 2020 322 $34,465.00 ($1,975.50) $355.84 $32,845.34 $0.00 $32,845.34
September 2020 349 | $60,230.00 ($3,534.50) $0.00 | $56,695.50 $45,356.40 $11,339.10
October 2020 396 | $81,880.00 ($727.50) $390.39 | $81,542.89 $65,312.39 $16,230.50
Stub Period

(November 2020 | N/A $19,355.00 ($875.00) $34.49 $18,514.49 $0.00 $18,514.49
— March 1, 2021

Totals $380,680.00 | ($22,450.00) | $1,439.46 | $359,669.46 | $273,204.82 $86,464.64

 

8. Upon approval of this Final Application, the unpaid balance of $86,464.64

may be paid by the Debtors to PSZ&J. This amount consists of 67,950.15 (the remaining 20%

holdback from the Monthly Statements), $18,480.00 in fees and $34.39 in expenses (the full

amount of fees and expenses sought for the period of November 1, 2020 through March 1, 2021.

9. PSZ&J’s legal services in these cases are described in detail in the time

entries included in the Monthly Statements. In further support of this Final Application the

following Exhibits are attached, for file copy only, as follows:

Exhibit A

Exhibit B

Exhibit C

Exhibit D

Exhibit E

Exhibit F

Itemization of fees and expenses included in First Monthly
Statement [Docket No. 192];

Itemization of fees and expenses included in Second Monthly
Statement [Docket No. 263];

Itemization of fees and expenses included in Third Monthly
Statement [Docket No. 322];

Itemization of fees and expenses included in Fourth Monthly
Statement [Docket No. 349];

Itemization of fees and expenses included in Fifth Monthly
Statement [Docket No. 396]; and

Itemization of fees and expenses incurred during the stub period
of November 1, 2020 through March 1, 2021.

 
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10. The services rendered by PSZ&J during the Compensation Period are
grouped into various categories, and the attorneys and paraprofessionals who rendered those
services are identified—along with the number of hours spent by each individual and the total
compensation sought for each category—in the attachments to this Final Application. Brief
descriptions of the services rendered by PSZJ during the Compensation Period, by category,
follow:

A. Asset Disposition

11. The Firm, among other things: (i) prepared for and conducted a sale
process with the Debtors’ professionals, including preparation of a stalking horse asset purchase
agreement, confidentiality agreement, and sale and bid procedures motion; (ii) addressed sale
issues; (iii) conferred with estate professionals regarding the potential sale of FF&E; (iv)
addressed lease rejection issues; addressed sale projections and wind-down budget; and (v)

addressed post sale hearing issues.
Total Hours: 280.40 Total Fees: $227,635.00
B. Bankruptcy Litigation
12. The Firm, among other things, addressed liquor license issues at various

leased locations.

Total Hours: 3.00 Total Fees: $2,175.00

C. Business Operations

13. The Firm addressed various operational issues of the Debtors, including,

but not limited to: (i) post-petition order deliveries; (ii) post-petition customer programs and use
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of credit cards; (iii) analyzing post-petition budgets; and (iv) assisting the Debtors with the

preparation of their monthly operating reports.

Total Hours: 10.20 Total Fees: $8,085.00
D. Case Administration
14. The Firm maintained a work in progress report, communicated with the

Debtors’ professionals regarding monthly operating report issues; performed research regarding
conversion of the cases and prepared a motion to convert and substantively consolidate in

connection therewith, and addressed wind down issues post conversion.

 

Total Hours: 32.90 Total Fees: $24,002.50
E. Corporate Governance/ Board Matters
15. | The Firm attended regular board meetings to discuss case status and
operational matters.
Total Hours: 7.90 Total Fees: $6,397.50
F. Claims Administration/ Objection

 

16. The Firm, among other things: (i) addressed inquiries from creditors
regarding various claim issues, analyzed PACA claims; (ii) performed research regarding
enforcement of loan right issues; (iii) addressed PPP use issues; and (iv) prepared a complaint
regarding PPP funds and use.

Total Hours: 24.70 Total Fees: $19,717.50
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G. Compensation of Professionals
17. The Firm, among other things, prepared its monthly fee statements,

conferred with estate professionals regarding fees and prepared the instant Final Application.

 

Total Hours: 8.40 Total Fees: $5,470.00
H. Compensation of Processionals/ Others
18. The Firm billed minimal time to this category addressing retention issues

of estate professionals.

 

Total Hours: .10 Total Fees: $72.50
I. Employee Benefits/ Pension
19. The Firm reviewed and analyzed employment and severance agreements

and addressed issues in connection therewith.
Total Hours: 2.90 Total Fees: $2,232.50
J. Executory Contracts
20. The Firm addressed several issues in connection with lease rejections,
lease amendments and lease payments; prepared a motion to reject leases and prepared cure

notices in connection therewith; addressed equipment removal issues from leased locations

Total Hours: 13.60 Total Fees: $10,370.00
K. First Day
21. The Firm reviewed and analyzed objections to certain of the Debtors’

“first day” motions, made revisions to final orders in connection therewith; addressed issues with

the U.S. Trustee; and revised “second day” motions;

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Total Hours: 13.80 Total Fees: $10,242.50
L: Financing
Dds The Firm, among other things: (i) reviewed and analyzed the PPP fund
analysis; (ii) addressed PPP fund use issues; analyzed waterfall projections; (iii) reviewed the
lender settlement agreement regarding use of cash collateral; (iv) performed research in
connection with SBA PPP Rules and Regulations regarding use and forgiveness of loan; and (v)

analyzed PPP objection and addressed issues in connection with use of loan proceeds.

 

Total Hours: 27.50 Total Fees: $21,537.50
M. General Creditors’ Committee
23. The Firm, among other things, responded to inquiries regarding the

formation of a creditors’ committee, conferred with counsel for the appointed official committee
of unsecured creditors (the “Committee”) and addressed informal information requests;
addressed sale issues with the Committee; and conferred with the Committee regarding general
Total Hours: 9.80 Total Fees: $7,995.00
N. Hearings
24. The Firm prepared for and attended the various hearings held during the
pendency of theses cases.

Total Hours: 26.50 Total Fees: $20,822.50

O. Insurance Coverage

25. The Firm addressed insurance financing and D&O coverage issues.

Total Hours: .90 Total Fees: $617.50

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P. Retention of Professionals
26. Time billed to this category relates to the preparation of the Firm’s
retention application.
Total Hours: .80 Total Fees: $630.00
Q. Retention of Professionals/ Other
27. The Firm assisted estate professionals with the preparation and filing of
their retention applications and addressed issues in connection therewith.
Total Hours: 6.00 Total Fees: $4,530.00
R. Schedules/ SoFA
28. The Firm, among other things, addressed issues related to requesting an
extension of time to prepare the schedules of assets and liabilities and statements of financial
affairs for each of the Debtors.
Total Hours: .20 Total Fees: $165.00
S. Stay Litigation
29. The Firm reviewed the order granting Innovo’s stay relief motion.
Total Hours: .10 Total Fees: $72.50
T. U.S. Trustee Related Issues
30. The Firm, among other things: (i) prepared for and participated in the
initial debtor interview (the “IDI’’); (ii) responded to inquiries from the U.S. Trustee regarding
the IDI; and (iii) prepared for and attended the section 341(a) meeting of creditors;

Total Hours: 9.60 Total Fees: $7,910.00

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31. The compensation sought under this Final Application represents a fair

and reasonable amount for the services rendered during the Compensation Period, given the

criteria set forth in section 330 for evaluating applications for compensation, namely:

a. the time spent on such services;

b. the rates charged for such services;

i whether the services were necessary to the administration of, or
beneficial at the time at which the service was rendered toward the
completion of, a case under this title;

d. whether the services were performed within a reasonable amount
of time commensurate with the complexity, importance, and nature
of the problem, issue, or task addressed;

e with respect to a professional person, whether the person is board
certified or otherwise has demonstrated skill and experience in the
bankruptcy field; and

f. whether the compensation is reasonable based on the customary
compensation charged by comparably skilled practitioners in cases
other than cases under this title.

11 U.S.C. § 330(a)(3).
32. Detailed itemizations of all expenses incurred during the Compensation

Period are included in Exhibits A-F attached hereto and incorporated herein by reference. A

summary of the expenses incurred by category during the Compensation Period are as follows:

 

 

 

 

 

 

 

 

 

 

 

Expense Category Amount

Working Meals $ 36.56
Conference Call $227.87
CourtLink — Online Research $ 78.41
Federal Express $ 18.25
Filing Fee $ 70.00
Lexis/Nexis — Legal Research $275.67
Pacer — Court Research $434.40
Transcript $298.30
Grand Total $1,439.46

 

 

 

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33. All expenses incurred by PSZ&J in connection with its representation of the
Debtors were ordinary and necessary expenses. It is PSZ&J’s policy to charge its clients in all
areas of practice for all other out-of-pocket expenses incurred in connection with the client’s
case. The expenses charged to clients include, Court filing fees, telephone and telecopier toll and
other charges, mail and express mail charges, special or hand delivery charges, document
retrieval, photocopying and scanning charges, charges for mailing supplies (including, without
limitation, envelopes and labels) provided by PSZ&J to outside copying services for use in mass
mailings, travel expenses, expenses for working meals, computerized research, transcription
costs, as well as non-ordinary overhead expenses such as secretarial and other overtime. PSZ&J
charged the Debtors for these expenses in a manner and at rates consistent with charges made
generally to PSZ&J’s other clients. PSZ&J believes that it is more appropriate to charge these
expenses to the clients incurring them than to increase the hourly rates and spread the expenses
among all clients.

34. This Final Application is PSZ&J’s first request for allowance of fees and
expenses as an administrative expense for services performed as counsel to the Debtors. Under
this Final Application, PSZ&J seeks an order (a) allowing and approving on a final basis Total
Compensation to PSZ&J of $360,730.00 for professional services rendered, and reimbursement
of $1,439.46 for actual and necessary expenses incurred by PSZ&J during the Compensation
Period; and (b) authorizing payment to PSZ&J for amounts approved under the Final Application

to the extent not already paid by the Debtors pursuant to the Compensation Procedures Order.

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35. PSZ&J received payment from the Debtors during the year prior to the
Petition Date in the approximate amount of $148,474.35. To date, PSZ&J has been paid a total
of $273,204.82 by the Debtors for its postpetition fees and expenses incurred in these Chapter 11
cases during the Compensation Period pursuant to the Compensation Procedures Order. Such
amount has not been shared, and no agreement or understanding exists between PSZ&J and any other
entity for the sharing of compensation received or to be received for services rendered in or in
connection with these chapter 11 cases. Presuming this Final Application is approved in its entirety,
the outstanding amount owed to PSZ&J for unpaid fees and expenses during the Compensation

Period will be $88,964.64.
SUPPLEMENTAL FEES

36. | Because there may be other actions that need to be taken prior to
conversion of these cases in order to aid the soon to be appointed chapter 7 trustee in
successfully maximizing the recovery to unsecured creditors, PSZ&J may need to continue
providing some services between the date of the filing of this Final Application and the
conversion date. It would be problematic if PSZ&J was obliged to cease all work following the
filing of this Final Application.

37. Accordingly, no later than eight days before submitting its proposed order
approving this Final Application, PSZ&J will file a supplemental fee statement with any
additional time or expenses incurred (the “Supplemental Fee Statement”) subsequent to the
Compensation Period. PSZ&J will serve the Supplemental Fee Statement on the notice parties
set forth in the Compensation Procedures Order and such notice will provide that such parties

will have a period of seven days to file any objections to the Supplemental Fee Statements. If no

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objections are timely filed, then the fees and expenses set forth in the Supplemental Fee
Statement will, subject to Court approval, likewise be deemed allowed on a final basis.

38. The foregoing procedure is appropriate in this case because: (i) PSZ&J
estimates that the aggregate fees and expenses set forth on the Supplemental Fee Statement will
be minimal, (ii) the funds to be utilized to pay amounts requested in the Supplemental Fee
Statement are capped by the Wind-Down Budget, (iii) the funds to be utilized to pay amounts
requested in the Supplemental Fee Statement will not impact the estate because, pursuant to the
Sale Order, any unused funds will be returned to the Prepetition Secured Lenders upon
conversion of these cases, and (iv) any fees and expenses exceeding that cap set forth in the
Wind-Down Budget will be voluntarily disallowed.

NOTICE

39, In compliance with Bankruptcy Rule 2002(a)(6), Local Bankruptcy Rule
2016- 2(c), and the Compensation Procedures Order, PSZ&J will provide notice of this Final
Application through the Court’s ECF system to: (a) the Office of the United States Trustee for the
Western District of Michigan; (b) counsel to the Official Committee of Unsecured Creditors; and (c)
parties who have filed a notice of appearance with the Clerk of the Court and requested notice of
filings in these cases. Additionally, PSZJ will provide notice of this Final Application, by electronic
mail, to: (i) BarFly Ventures, LLC, c/o Mark A. Sellers, III, 35 Oakes Street, SW, Suite 400, Grand
Rapids, Michigan 49503, email: mark@barflyventures.com; (ii) the Office of the United States
Trustee, 125 Ottawa Street, Suite 200R, Grand Rapids, Michigan 49503 (Attn. Michael Maggio),
email: michael.v.maggio@usdoj.gov; (iii) Sugar Felsenthal Grais & Helsinger, LLP, 30 N. La Salle
Street, Suite 3000, Chicago, IL 60602 (Attn: Michael S. Brandeess), email: mbrandess@sfgh.com;
(iv) Jaffe Rait Heuer & Weiss, P.C., 27777 Franklin Road, Suite 2500, Southfield, MI 48034 (Attn:

Paul r. Hage), email: phage@jaffelaw.com; (v) Rayman & Knight, 141 E Michigan Ave # 301,

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Kalamazoo, Michigan 49007 (Attn: Steve Rayman), email: slr@raymanknight.com; and (vi) Paul
Hastings LLP, 71 South Wacker Drive, Suite 4500, Chicago, Illinois 60606 (Attn: Nathan S.
Gimpel), email: nathangimpel@paulhastings.com. PSZ&J submits that, in light of the nature of the
relief requested, no other or further notice need be provided.

WHEREFORE, PSZ&J requests that the Court enter an order substantially in the
form attached hereto (a) awarding PSZ&J compensation on a final basis in the amount of
$360,730.00 in fees and $1,439.46 in expenses, (b) allowing such compensation as an
administrative expense claim of the Debtors’ estates pursuant to 11 U.S.C. § 503(b) and
507(a)(2); (c) authorizing the unpaid balance of such approved compensation to be paid by the
Debtors; and (d) awarding PSZ&J such other and further relief as the Court may deem just or

proper.

Dated: March 5, 2021 WARNER NORCROSS + JUDD LLP

/s/ Elisabeth M. Von Eitzen

Rozanne M. Giunta (P29969)
Stephen B. Grow (P39622)
Elisabeth M. Von Eitzen (P70183)
1500 Warner Building

150 Ottawa Avenue, NW

Grand Rapids, Michigan 49503
Telephone: (616) 752-2000

 

PACHULSKI STANG ZIEHL & JONES LLP

John W. Lucas (admitted pro hac vice)
Jason Rosell (admitted pro hac vice)
150 California Street, 15th Floor

San Francisco, California 94111
Telephone: (415) 263-7000

Counsel to the Debtors and Debtors in Possession

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